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                                                                                           t'; r-       h~


          Lisa no~GLass                                                                    ~~~ ~
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          PO BOX 480913                                                             ~ 'v~r""
                                                                                       c ~'-'           N
/I ~      LOS ANGELES,CA 90048                                                         ~~y              N
          323-346-5175                                                                    . ,_~
                                                                                     ~ "~~~~'           ~

                               UNITED STATES DISTRICT COUR"I'                         ~     ~~           s~
                              FOR THE DISTRICT' OF CALIFORNIA                               '~'~         `'~
                                    WESTERN DISTRICT

          LISA DOUGLASS &OTHERS SO                              ~                                              S~
          SITUATED.                                e
                               Plaintiffs        CLASS ACTION COMPLAINT
                           V
          DE BEERS GROUP ~ l~ 1~                t s u.s.c. § ~ 962(d)
          ~~ P~ ~ ~ ~.~~~                       forced labor conspiracy, in violation
                                                of 18 U.S.('. § 1594(b)(Count Two);
                                                wire fraud conspiracy, in violation of
                                                18 U.S.C. ~ 1.349(Count Three); sex
         & THEIR AGEN"TS                        trafficking offenses, in violation of
         SIR PAUL.. MCCARTNEY                   various provisions of 18 U.S.C. §§
         RUPERT MURDOCH                         1591, 1594(Counts Four, Five, Six);
         SUMNER RF,DSTONE                       and conspiracy t~ commit identity
         PARIS HILTON                           theft, in violation of 18 U.S.C. §
         GWEN STEFANI                           1028(f~(Count Seven); 18 U.S. Code
         JOHNNY DEPP                            § ]091. Genocide
         RICK RUBIN
         MICHAEL HOROWITZ                       Section 806 of the Patriot Act amends
                                                U.S. forfei~ure law to allow authorities
                              Defendants        to seize all foreign and domestic assets
                                                from any group or individual that is
                                                caught planning; to commit acts of
         &                                      terrorism against the U.S. or U.S.
                                                citizens
         And their agents as follows
         WEYMOUTH CLINIC                        JURY "1RIAL DEMANDED
         VARIETY
         DAVID FISHER PRODUCTIONS
         ANDREW BARKER                                 ...,
         BRITISH MUSEUM                                        P~,9L~
                                                                  --
         GORDON GETTY
         OXFORD UNIVERSITY PRESS                          ,j(,j~ 2 ~ ~~
         DEBORAH RICHARDS
         DAVID FISHER PRODUCTIONS                        C~eni, US District Court
                                                              cc~~'~T Qsi2
         NICK RICHARDS
         DEBORAH RICHARDS
         COLIN MCGUINESS



                                                                                                    1
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   LUCIAN ION
   ANDREW FRANKEL
   Christine Jansen,
   Leslie Flieshman,
   Busy Bee Records
   Johnny Depp
   Robert Fulps
   Kelly McDonald
   Luka Pecel




          The Plaintiff brings this lawsuit out of a series of crimes organized through De

   Beers, UK,PAUL McCartney, and Rupert Murdoch, Sumner RedstonE and the Hiltons,

   Universal Music Group and their agents who hired friends to stalk Lisa and befriend her

  for commercial sex acts on US Soil THEN trafficked her again for sale as commercial

  sex acts on UK soil These parties were known to Lisa, and they exploited. her friendship

  by asking for naked photos or photos that showed her body so they could sell her through

  the unlawful network and steal her ovaries to sell her babies and steal her brain tissue

  facial tissue to make blood diamonds.




          Using unlawful practice of gangstalking and torture policies that wanted to

  Eradicate White American Natoinals and even hiring gay men to pretend to be Lisa's

  boyfriend to influence her, DeBeers engages in sexual exploitation with one goal, racist

  mining in white Christian women for blood diamonds.




         Given the acts and facts were constituted nn American soil nn and in the UK,the

  last violent act taking place on 1 U27/2018 in the UK where De Beers agents and




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   associates caused her to travel and sent communications in relation to destruction of a

   protected computer in exchange for something of value, I am well within the time frame

   for filing a case and did not know everyone involved when filing the Genocide Case ON

   January 20, 2020. DE SEERS racist policies and practices through an enormous

   labyrinth targets women by gender, heterosexuality and by Race. These practices and acts

   constitute racism, gender discrimination and genocide.




            De Beers, Rupert Murdoch and Sir Paul McCartney and their procurement agents

   committed crimes against Americans and did knowingly use self-help groups and Los

   Angeles Community College and bullying schemes, and friends and family to procure

   victims to make their diamonds as patent #W02017001835A1 will reveal with David

  Fisher and Colin McGuiness and .Tames Gordon which I believe to he Tames Goodwin

  and Gordon Getty. I do not know who Smith is but suspect it is Nicole Kelly who

  organized the hate crimes against me, then was promoted and given a mansion, a black

  female.




         DeBeers policies and practices smack of racist agenda, discrimination against

  women and international torture laws. Further, Lisa was taken to Rick Rubin's beach in

  Malibu by Jane Ford liar screening. Lisa never l~now going to the beach could be

  dangerous, ar make you a target. Lisa was targeted by some of the most famous people in

  the world, who wanted to cut out her bones and get their blood diamonds.




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                Each act was done with slavery of White Christian Nationals victims in mind, the

   goal of cashing out the'women's life insurance and stealing their own currency through

   barbaric methods,facts that will he proven and intentional deprivation of rights to White

   Christian Nationals women in America and those that had the misfortune of going to

   WeymoutF~ Wells, a mining site for DeBeers in the UK, by selling them for commercial

   sex acts and selling their ovaries to give their reproductive rights to someone else. Selling

   people for violent sexual abuse while drugged, then cutting out brain and facial tissue and

   ovaries to sell them and make diamonds.


      Luminescence measurerr►ents in diamt~nd

      Abstract
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     A rnFthod of ar~d en apt~aratits fog providinr an ~ici~s ,t,yr f+?r a d~ ,si,.onc .as :a                                                          ~~
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     Classifications
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              Lisa sued in state court for being maimed, and unlawfully raped and tortured

  while consenting only to a minor nose job and after being severely ostracized by De

  Beers agents and bullied online and at school for her looks.




                                                                                                                                                                               4
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           The facts and acts are detailed in lawsuit number CV20-6448-DSF(JEMX)and

   were organized by Nicole Kelly, Michele Latiolais, Mona Simpson, Garth Dahlgren,

   Nysha Alvarez, Sonja Kinski, Bradley Bello, Jonathan Shaw, Johnny Depp, Nick Cave,

   Mike Coulter, Neva Kaya, Jerry Stahl, Kenneth Schiffrin, Kate Lubahn, Demi Lovato,

   Ruby Rose, Nick Richards, Deborah Richards, Colin McGuiness, for De Beers, Uk and

   Paul McCartney and lggy Pop and Marilyn Manson, Robert Crumb, Jim Jarmusch, Gwen

   Stefani as well and others that knew and befriended Lisa with intent to barbarically cut

   off her cheekbones and upper jaw and steal her ovaries after selling her as a slave without

   payment for her stolen bones and other property. Unlawfully placinb her in clinical trials

  that deprived her of any rights in America and constituted forced servitude.




          Befriending Lisa through the Alcoholics Anonymous network Robert Fulps, Jane

  Ford, Bradley Bello, Neva Kaya, Nicole Kelly (from UC Irvine) used unlawful methods

  of bad faith including sexual manipulation as Robert Fulps posed as Lisa's boyfriend but

  left a black magic book in her home claiming he wanted to "burn the witch," and "eat her

  marrow." After Lisa was injured, all involved took money from the parties for her

  unlawful procurement and "cashed out" her life insurance policy leaving her with no way

  to work and no rights in America..




          When looking up Robert Fulps on the Internet, he is described as a man who had

  HIV and is currently dead and his Lover was Frank Moore, Lisa has always alleged that

  they infected her with HIV using proxies sexual torture, and Defendants knowingly used

  Music Cares and AA to procure victims for Satanic Ritual abuse and targeted White




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   Christian avomen for their eggs, ovaries and facial bones and lobotomized them with

   intent on earning money by stealing; assets and enslaving, the women to the parties though

   methods of forced servitude.




          I submit under penalty of perjury the facts and acts are true to the best of my

   understanding and were undertaken to humanly traffic me for commercial sex, sales,

   auctions and DeBeers, unlawful mining and sorting by using "friends" "lovers" and

  "proxies" and "parents" in America and overseas to commit genocide, mutilation and

   other crimes, using Weymouth Clinic, Cavendish Clinic, Lucian Ion, Christine Jansen,

   Leslie Flieshman, Andrew Frankel, Busy Bee Records, Brian Ray, Paula Bradley,
            ~.
   Johnathan Shaw for Johnny Depp and other Defiendants to lure Lisa for commercial

   violent sex acts for her gender and race after drugging and maiming her to make

   diamonds and these agents raped her to steal her ovaries.


          Verily Submitted under penalty of Perjury,

          Lisa Douglass




          Submitted on July 22, 2020



                                        COMPLAINT

  Between the years 2009 and 201.5, De Beers and Paul McCartney's and Rupert Murdoch

  and Sumner Redstone, Gwen Stefani, Marilyn Manson,Iggy Pop, their associates, agents

  and proxies organized, implemented and executed crimes against American White
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   Christian National women for use in mining„ licensing, forced servitude and stolen eggs

   and ovaries but in particular wanted to murder, maim and rape Lisa and violently sterilize

   her by stealing her ovaries, using, friends and family and paid to do such conduct by

   organizing a blacklisting through schools, and employers to gain her for diamond mining

   and forced servitude.



                                JURISDICTION AND VENUE'

   8. This Court has jurisdiction over this action pursuant to ,because      __=
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   this complaint alleges claims under the la~~s of the United States, specifically the

   treason against White Christian Nationals, conspiracy in racketeering conspiracy, in

   violation of 18 U.S.C.§ 1962(d)(Count One); and various of the defendants with

   participation in a forced labor conspiracy, in violation of 18 U.S.C.§ 1594(b)(Count

   Two); wire fraud conspiracy, in violation of 18 U.S.C.§ 1349(Count Three); sex

   trafficking offenses, in violation of various provisions of 18 L1.S.C. ~§ 1591, 1594

  (Counts Four, Five, Six); and conspiracy to commit identity theft, in violation of 18

   U.S.C. § 10280(Count Seven) and these laws fall under the same controversies of

   genocide under 18 U.S. Code section 1091: Genocide: Genocide is defined within 18

   U.S. Code section 1091 to include killing members of a group; causing serious injury

   to members of a group; causing permanent impairment to members of a group;

   subjecting members of a group to conditions intended to be physically destructive;

   as De Beers Blood Diamond mining is violently injuring Americans and their right

   to reproduce and The Age Discrimination Act of 1975,34 CFR Part 110, holds that

   no person in the United States shall, on the basis of age, be excluded from

   participation, in be denied the benefits of, or be subjected to discrimination under,

   any program or activity receiving Federal financial assistance, torture for Race and

   Gender "No one shall be subjected to torture or to cruel, inhuman or degrading

   treatment or punishment." This ban on torture and other ill-treatment has

  subsequently been incorporated into the extensi~~e network of international and

  regional human rights treaties.l8 U.S. Code § 1831. Economic espionage




  9. The United States District Court for the Western District vi'Cn13o~r~ia rias
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   personal jurisdiction over Defendant because though DeBeers sends agents to procure

   victims, and their headquarters are in the UK,they are slaughtering White Christians,

   using AA to procure victims and Education Facilities and many of the acts complained of

   and giving rise to the claims alleged took place in California.

   and in this'District and DeBeers caused Lisa to travel for more violent torture to the UK

   where they injured her again by stealing her second ovary and performing a lobotomy

   and facial crushing, then disfiguring her with silicone ro procure blood diamonds.


   10. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b),(c)(2) and Civil

   L.R. 3-2(d) because Plaintiff resides in California where the incidents took place and was

   caused to be humanly trafficked to UK under illegal protocols to steal her ovary and brain

   tissue and muscle by De Beers agents. Thus on two continents De Beers engaged in

   Blood Diamond mining and unfair practice and protocols by selling victims for rape and

  torture.




   Using friends, Colin Mc Guiness, Kent Geib (now deceased) and Brian Ray and Nick

  Richards, Deborah Richards, Pamela Anderson, Rick Salomon, Andrew Frankel and

  Lucian Ion among others, each participated in trafficking humans for sex and violent

  maiming to make blood diamonds and for "sexual entertainment" acid "slavery" and

  "forced servitude" and placed women in clinical trials without payment for their stolen

  property, did subject the women to forced servitude and sexual commercial exploitation

  and reproductive theft without pay or knowledge of where the stolen babies were (from

  the torn out ovaries) by licensing them after cutting off their upper jaws claiming the

  right do art cannot be changed.
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    Paul McCartney, who Lisa did not know, is a ~Tiinister and can order people used as

    slaves or tortured for their body parts and did use proxy Brian Ray to procure Lisa. ~~e

    works for APPLE CORPS and Universal Music Group as well as Capitol Records, Lisa's

    former employer, and his bassist was a friend of Lisa Douglass.




    Brian Ray invited Lisa to his home for Thanksgiving and pretended to be her friend with

    intent to commit these crimes against her.




    The facts and acts were undertaken in bad faith and without payment to the victims

   forcing the victims into servitude to their agents.




   Lisa personally knows 35 victims De Beers, Stefani, Igby Pop, Paul McCartney, Paris

   Hilton exploited and asks for their restitution as well, but suspects the crimes against

    White Christian Americans are in the millions and as stated in my recent lawsuit

   constitute genocide against a race.



   Lucian Ion illegally used the shelter of De Beers AND Sir Yaul McCartney, Rupert

   Murdoch Sumner Redstone, Gwen Stefani and Paris Hilton and other Defendants to hide

   criminal conduct and did steal currency and bones, muscles and brain and ovary from

   Lisa while at Weymouth CLINIC in the UK. When she asked him what he did, the clinic

   admitted that she could not have all the records and refused to give them to her.




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    Lisa only traveled to him to remove a torture device placed in the states by De Beers

    agents to prevent breathing and smiling, at the first procurement by Defendants.



    Instead of the agreed on procedure, Lucian ion, Gregor Bran and others cut out her facial

    muscles and her ovary and lobotomized her with the help of World l3ank actor Salman

    Bin Mohammed, the Saudi Minister of Defense's son using Cavendish to screen her

    bones.




    Lucian Ion knowingly lured Lisa for De Beers and its agents and caused her to travel

    overseas to barbarically destroy her face, and steal her second ovary.


    De Beers, and. other defendants knowingly bullied, ostracized and withheld rights to

    Americans to target them from their shelter in the UK. These are crimes against

    Humanity.


   The financial strain of the completely disfigured and disabled vi~titns of De Beers and Sir

   Paul McCartney, Paris Hilton, Gwen Stefani cannot work due to Tags on their charts

   placed by schools who place the flags after drilling and mining to procure blood

   diamonds. Lisa was lobotomised and her spine also drilled out and an implant placed that

   causes severe pain.




   Many victims are being sued by their banks after De Beers aid Paul McCartney and other

   Defendants stripped them of assets in America and bankrupted them by stealing their

   bones, ovaries and brain tissue.




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    This is human slavery and forced servitude in violation of(18 U.S.C. ,¢;~ 1589(a)(2),

     589(a)(4), 1591(a)(I), 1594 (b), 1594(c), 2 and 355 I et seq.)



    After committing the identiy theft, De Beers, made fiun of the victims through proxies like

    Disney, the Guardian, The Register, Busy Bee Records, that admits to murdering Lisa,

    calling her a "slaughtered Iamb", then hiring the maimed Lisa to be an extra on Disney's

   "Lab Rats."



    All of the defendants committed treason against Americans. conspired in racketeering

    conspiracy, in violation of 18 U.S.C. § 1962(d)(Count One); and charges various ofthe

    defendants with participation in a forced labor conspiracy, in violation of l 8 U.S.C. §

    1594(b)(Count Two); wire fraud conspiracy, in violation of 18 U.S.C. § 1349(Count

   Three); sex trafficking offenses, in violation oi~various provisions of l8 U.S.C. §§ 1591,

    1594(Counts Four, Five, Six); and conspiracy to commit identity theft, in violation of 18

    U.S.C. § 10280(Count Seven)




                                             ONE
                          (Against all Defendants and their agents)
                  Racketeering conspiracy, in violation of 18 U.S.C. § 1962(d)

   All defendants participated in procurement, laundering of stolen property and committed
   such crimes using wire and communications with intent on receiving money for
   commercial sex acts and maiming of their victims. Through arrangement of destruction
   of a protected computer in exchange for something of value did defraud America.


                                                TWO


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                               (Against all defendants and their agents)

                      Forced labor conspiracy, in violation of l 8 U.S.C. ~ 1594(b)

    All defendants participated in procurement, laundering of stolen property and installed

    devices to disfigure and disable Plaintiff and others to unlawfully steal currency and earn

    royalties gained from stolen property and stolen trademarks and committed such crimes

    using wire and communications. Through arrangement of destruction of a protected

    computer in exchange for something of value did procure forced labor without payment

    to the victims.



                                               THREE
                              (Against all Defendants and their agents)

    Wire fraud conspiracy, in violation of 18 U.S.C. ~ 1349

    All defendants participated in procurement, laundering of stolen property and installed

   devices to disfigure and disable Plaintiff to earn money on royalties gained from stolen

    property and stolen trademarks and committed such crimes using wire and

   communications."through arrangement of destruction of a protected computer in

   exchange for something of value which is extortion.




                                               FOUR
                              (Against all Defendants and their agents)

   Sex trafficking offenses, in violation of various provisions of 7 8 U.S.C. §§ 1591, 1594

   All defendants participated in procurement, laundering of stolen property and installed

   devices to disfigure and disable Plaintiff and sell her for commercial sexual exploitation

   after drugging her to earn money on royalties gained from stolen property and stolen



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    trademarks and committed such crimes using wire and communications. Through

    arrangement of destruction of a protected computer in exchange for something of value

    and after asking her for photos so they could auction her for sexual exploitation, baby

    tourism and maiming.



                                              FIVE
                            (Against all Defendants and their• agents)

    Conspiracy to commit identity theft, in violation of 18 U.S.C. § 7 0280)

    All defendants participated in procurement, laundering of stolen property and installed

    devices to disfigure and disable Plaintiff to steal her rights and identity and did collect

    payments for her Identity theft, mutilation and rape and continue to collect money for

    those acts under licensing and royalties.




                                                 SIX

                  (AGAINST ALL DEFENDATNS AND THEIR AGENTS)

    Defendants did commit 18 U.S. Code § 1831. Economic
    espionage
   (a)In General—Defendants intending or knowing that the offense will beneft any
    foreign government, foreign instrumentality, or forei~,n went, knowingly
   (l)
    steals, or without authorization appropriates, takes, carries away, or conceals, or by fraud,
    artifice, or deception obtains a trade secret;
   (2)
    without autharization copies, duplicates, sketches, draws, photographs, downloads,
    uploads, alters, destroys, photocopies, replicates, transmits, delivers. sends, mails,
    communicates, or conveys a trade secret;
   (3)
    receives, buys, or possesses a trade secret, knowing the same to have been stolen or
    appropriated, obtained, or converted without authorization;
   (4)
    attempts to commit any offense described in any of paragraphs(l)through (3); or
    ~5)


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    Defendants conspired with one or more other persons to commit any offiense described in
    any of paragraphs(1)through (3), and one or more of such persons do any act to effect
    the object of the conspiracy,
    shall, except as provided in subsection (b), be fined not more than $5,000,000 or
    imprisoned not more than 15 years, or both.
   (b) Organizations.— DeBeers, Apple Corps, Universal Music, News Corp, National
    Amusements
    did commits any offense described in subsection (a) shall be tined not more than the
    greater of $10,000,000 or 3 times the value of the stolen trade secret to the organization,
    including expenses for research and design and other costs of reproducing the trade secret
   that the organization has thereby avoided.




    To earn money on royalties gained from stolen property and stolen trademarks and

    committed such crimes using wire and communications.Through arrangement of

    destruction of a protected computer in exchange for something of value.




    PRAYER FOR RELIEF

    WHEREFORE, plaintiff prays for judgment as follows:



    A. Determining that this action is a proper class action, designating plaintiff as Lead

   Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal

   Rules of Civil Procedure and plaintiff's herself as lead Plaintiff.




   B. Declaring that Defendants violated the human slavery and torture international and US

   and UK laws; and forced servitude and sexual exploitation modes and methods AND

   birth tourism laws.




   C. Award plaintiff costs in state court as to the Andrew Frankel acid USC case who at all




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    times relevant fall under the acts and facts described herein, whereas Lisa is being sued

    by her banks and De Beers and Sir Paul McCartney and Rupert Murdoch and Sumner

    Redstone, the Hiltons, Clwen Stefani, Marilyn Manson, Johnny Depp,.Jonathan Shaw and

    associates lawyers are suing her for costs even though the ,Judge and actively obstructed

   justice in case number BC6481 15




    D. Award Vlaintiff release from captivity or the captivity o1~ GREAT' BRITAIN or anyone

    who is holding Lisa and the other victims as Dead as a guardian so that her constitutional

    rights might be restored, whether held by De Beers, Pau] McCartney, Sumner Redstone,

    Rupert Murdoch, Gwen Stefani, Marilyn Manson, Iggy Pop and their agents.




   E. Awarding plaintiff's reasonable costs and expenses, including attorneys' fees; and

   F. Awarding such other relief as the Court may deem just and proper.

   G. Award reparations of holcaust of babies stolen, sterlizaation to cause injury. Selling

   our babies, selling our art. Mutilaiton and lynching of White Christian Nationals.

   H. Awarding back pay from discrimination at LACCD by state officials who then tried to

   murder Lisa for her speech as a teacher while employed by the state of Califronia and

   they tried to murder her for acknowledging the crimes against humanity committed by

   DeBeers, Sir Paul McCartney, Gwen Stefani, Johhny Depp and other Defendants.

   I. Awardir}g Lisa and others discriminated against royalties fir their stolen property,

   return of their stolen currency and property and a public apology toe sexual exploitation

   reproductive harm and torture.

   J. Award Plaintiffs knowledge of where their babies are.




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            0




                  1.     Reparations for 1 UO years of genocide: against white Christians

                         through unfair policy and procedure, throughout the De Beers,

                         Harpers Collins, Universal, Apple Networks and world wide

                         where US government and its agents are committed unfair

                         genocide on a race.

                  II.    Return of stolen cultural objects and effects or an amount that

                         reflects their value.

                  Ill.   Knowledge of where our children are, who our eggs were sold

                         to, and ability to let the child know we are their true genetic

                         parents.

                  IV.    Ordering White Christians a protected class so De Beers and

                         Paul McCartney, R~ipert Murdoch and Sumner Redstone,

                         Gwen Stefani, Johnny Depp, JeY•ry Stahl, cannot exploit them,

                         and mine and torture them and sell them for sexual assault on

                         auction blocks.

                  V. -   Ordering the fact true that a Holocaust against White Christians

                         did occur and that these actions are racist and discriminatory

                         against women so they can enjoy the samf, rights as other

                         classes and be protected and be afiforded privilege to work and

                         to healthcare.

                  VI.    Disgorge profits and allow share in the royalties of stolen

                         tissue, currency and implanted devices.

                  VII.   Order flags removed so medical care so the women can have




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                                the devices removed and jaw and faces rebuilt so they can

                                breathe.

                        VIII.   ORDER Paul McCartney and De Beers, Sumner Redstone, and

                                Rupert Murdoch, Uwen Stefani, Johnny Depp, Iggy Pop and all

                                other defendants and their agents to cease human trafficking

                                efforts by age, race and gender and to pay restitution to the

                                women they harmed.(Specifically forbid them from going

                                after White Christian women).

                        IX.     Order.


    JURY DEMAND

    l certify that the foregoing is true and correct to the best oi~ my Linderstanding not being a
    lawyer and being deprived of rights to a lawyer. I certify that this certification was made
    on July 22, 2020 in the City of Los Angeles, County of Los Angeles in California. And
    that these statement are made under penalty of perjury to the hest of my understanding
    and comprehension of the events, facts and acts and documentation o1~ lynching, being
    sold for sexual assault and the screeni~lg process, deprivation of rights to employ others
    to bid on my rape and mutilation by De ~3eers, Murdoch, Redstone and McCarthy,
    Stefani, Ig~y Pop, Marilyn Manson, Johnny Depp and their agents.




    Plaintiff demands a trial by jury

    DATED: July 22, 2020

    Lisa Douglass
    PO Box 480913
    Los Angeles, CA 90048
    323-346-5175
    lisa_dou ~1ass cr,icloud.com



                              DECLARATION OF LISA DODULASS
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            I, Lisa Douglass, declare and say as follows:

            L       I am a resident of Los Angeles County. I have personal knowledge of the

    matters stated in this declaration, and if called as a witness I could and would testify

    competently as stated herein. The acts and. facts occurred between ?012 and 2019, the

    exact dates can be provided later thus are approximate.

            2.     I was recently a plaintiff in a lawsuit called Dougluss v. Frankel

   (BC648115). During a minor rhinoplasty 1 was gangraped and my ovary was stolen, my

    jaw shortened and a spinal and facial implant installed so 1 could not breathe or smile

    easily. At the clinic I was exposed to WV,sterilized and also used for- Vaccines. The

    clinic is used by Gangs organized by those in this lawsuit.

           3.      Prior to this, 1 was gangstalked by associates of ~un~ner Redstone, Rupert

    Murdoch, De Beers, UK,and Paul McCartney, Gwen Stefani, Johnny Depp and Paris

    Hilton, Marilyn Manson through my school and the Alcoholics Anonymous Network.

           4.      Brian Ray pretended to befriend me. I knew him from AA and had been

    ostracized by the group due to Hilton's making up lies about n1e and my character

    organized by Stephen Hilton and Laura Clery.

           5.      During this time I met Nick and Deborah Richards,.lane Ford introduced

    me to the ~.ouple and to Sonja Kinski.

           6.      At some point Deborah struck up a friendship on Fa~ebook. One day she

    sent me some leggings while she was traveling, asking me if l would take a photo of

    myself in the leggings.

           7.      I didn't want to but finally did and sent her the phot~~. 1t is this photo they

    used to sell me for gangrape and ovary theft. It was used to auction me off as chattel.




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            8.      Something Happened where Deborah was kept out ot~the country for years

    in the UK and her husband began writing to me begging me for a naked photo.

            9.      I told him I didn't feel com{ortable as she as my Friend and he would just

    beg day in and day out for weeks and weeks.

            l0.     Eventually, I sent him a photo because he told me he would kill himself

    and it would cheer him up while he v~~ife was being kept from the country due to

    immigration. which he then. used agai►~st me to claim I had done something betraying to

    he and his wife. This was used to proveI was a bad person so DeBeers could use me for

    unlawful blood diamond mining.

            11.     Kent Geib an associate of Colin McGuiness an agent of De Beers, also

    harassed me day and night for a photo.

            12.    Kent as an agent of De~3eers also brought me an expensive pair of Yves

    St. Laurent shoes, claiming his mother had died.

            13.    Afterward I got attacked by his girlfriend who claimed l slept with him for

    the shoes, a fact that was not trt►e. ~~~Ier name is Carrie Westcott and she works for

   Playboy.

            14.    Hilton's Stephen Hilton and Laura Clery who I was sponsoring at the

   time, made up a lie about me and defamed ine through my social group. In AA.

           15.     Laura was high on crack, but I did not know sloe ~~as high and filmed her

   as she was a comedianne andIjust thought she was being funny.

           16.    I sent the video to her boyfriend Stephen at her request.

           17.     Then they both accused me of destroying her• reputation.




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            18.    Facts that can be verified due to the emails that came to me and were sent

    from my computer.

            19.    Then Laura suddenly stopped talking to me.

           20.     There was another girl, another Hilton Associate who also I was

    sponsoring, Alexia Starchild she called herself, her mother is close friends with the

    Hilton family. She called me and begged me to come to a rehab. Her mother Jenny

    DuBasso was actually delivering ine as someone to purchase and screen for my body

    parts and eggs, I believe for the Hiltons.

           21.     In AA,I had been targeted by a man named Robert Fulps. He was my

    boyfriend for a time and later I found out he worked for 1~lusic Cares. He left a book in

    my house about burning and maiming a beautiful girl and eating her blood and marrow.

    In the book he details his obsession with harming "beautifizl people.''. hater I was sent a

    photo, that said "DIE" over his face, which 1 believe was a curse.

           22.     His friend made up lies about me and told me that I vas causing him to

    use heroin and that I was irresponsible to date himNico Federrer is her name.

           23..    My friend Patty Barret also stopped talking to nle at that time.

           24.     Her boyfriend, Andre Roberts took me to meet Pamela Anderson and Rick

   Salomon ,,both who I believe work for the Hilton's and Playboy. Pamela would not look

   at me and was being very mean beca~ise the Paris Review was doing a study on the

   reactions of the violence of the female gaze with intent on doing a r~~dical selfie where

   they disfigured someone using Kanye West and Elon Musk. I was introduced to the Paris

   Review's editor by Mona Simpson, my advisor at UCLA.




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           25.     At that time also Jonathan Shaw fo~uld me in AA and told me he admired

    my work as a writer. As an agent of Johmiy Depp's and Rupert Murdoch's took me to

    class at LACC with Joe Ryan for ~angstalking and procurement by the group.

           26.    .Toe Ryan was very mean to me. Netflix's Luke I.eGraff was there and also

    very mean. As an agent of Netflix he was abusive online on I~acebook and told me he

    hated my face repeatedly through the FacebookNetwork. Marlo Page and Neva Kaya

    also made comment about hating my selties. Neva blocked me from her site and later I

    found out spread rumors about nee and then orgazined a plot agasint me with Mike

    Coulter so she could buy a dog rescue in Puerto Rico.

           27.    Johnathan Shaw and Bradley Bello and Sonja Kinski and Neva Kaya

    surrounded me at AA and began meeting me for dinner or being abusive, back and forth

    me through the Facebook Network as agents for Playboy, De Beers, Johnny Depp, Rupert

    Murdoch, Sumner Redstone Marilyn Manson, Nick Cave, Hiltons and Universal Music.

           28.    Neva introduced me to Paul Behan and Nathalie Margot, who on my date

   of injury worked for Universal Music Uroup doing a torture movie.

          29'     My sponsor Nina Bergman also works for universal and stopped talking

   to me suddenly.

          30.     [was being targeted fi~om all areas. ,Kenneth Schif~i-in told me that he

   knew I was placed on a list so I could never sell my book. 1-Ie laughed at me that I went to

   grad school.

          31.     Jonathan Shaw brought leis lawyer to a class at LACCD and Jerry Stahl

   was the speaker and did so for Johnny Depp and DeBeers.




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            3l ,   Later he wrote a book calling; me "Our Lady Of Ashes," where Lydia

    Lunch makes fun of my parents and society ostracizing me and enslaving me. Lydia

    Lunch works for Jawbreaker Press in the t1K and DeBeers.

           32.     Mike Coulter aild Neva invitEd me to water slide party. When I got there

    Neva publically shamed me and told me I was ugly and a hoarder. She had defriended me

    on facebook and worked at the time for Playboy, NHS and Disney.

           33.     When I asked her why she defriended me she woulq not tell me.

           34.     Colin Mc Guiness, as an agent of De Beers started asking me to hang out

    and took me to a party. Both Colin McGuiness and Leslie Flieshman pretended to be poor

    with the goal of targeting Lisa.

           35.     Jamie A~isko kept begging me to come to an AA meeting too, calling it a

    big book study. At the meeting Netflix Gladys Santilles was there.

           36.     Neva invited me to a hid book study at her home and invited all the

    women thQ.t hated me in AA.

           37.     I was getting badly bullied online and all my friends Mopped talking to

    me.

           38.     Victoria Pynchon who I worked for introduced me to Les Weinstein who

   had houses on Tigertail. I was also working for Carol Ann Emquies at that same time and

   realized that she was blacklisting white Christian writers from wor]<ing.

           39.     Later I found out they both worked for Janis wllo organized plots against

   Americans to steal their rights, ovaries and body parts.

          40.      Brian Ray as an agent of Paul McCartney took me to a show.




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           47.     Paul Behan wrote me day and night telling; me I was like a Deer, which is

    the trigger word.

           48.     At this time I didn't know my father had used tapes so 1 would have a

    trigger word and think I needed surgery.

           49.     USC handler, Donald Hewitt was being inappropriate with his 7 year old. I

    tried to tell the police but they would not help me.

           50.     Colin McGuiness as an agent for De Beers, wrote under my photos, Stick

    the "F-eking Kettle on." To point me out to gangstalk for DeBeers.

           5].     When I asked him what it meant he lied and told me it was just about

    having Tea.

           52..    Later I found the Trademark Portion of fhe USPTO site Galles applications

   for traderrr~rks TEAS.

           53.     Robert Fulps also introduced nee to Paula Bradley wl~~o worked for Gwen

   Stefani as a procurement agent.

           53.     When I was injured, NONE of the people ever spoke to me again. Not

   Sonja, Not Bradley Bello, not Jonathan not Jamie, or Brian or Nick Richards or his wife.

           54.    I tried to get help because they stole my ovary and badly mutilated my

   face and lobotomized me and operated on my spine.

           55.    I was gang-raped at thefacility and sterilized according to RAND

   documents for the Department of Defense a fact that children watched, as they employ

   underage children to conduct the crimes so they cannot be prosecuted.

           56.    Nick told me lie was very close friends with Eric Garcetti our City Mayor.




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              57~   When [went to Kaiser and my ovary was missing after I was mutilated,

    the doctors would not tell me what happened to nee. I begged them to help me with my

    mouth and nose as I could not breathe normally. Dr, Gross at Kaiser told me Andrew

    Frankel should be in jail for what he did to me, yet the LAPD and BHPD would not help

    any of us. The doctors at Kaiser hired Priyanka Bhanot to lie about me Co create a report

    to cut out the top of my spine and lobotoiY~ize me. Her report shows unlawful intent to

    sterlize women and perform unnecessary surgeries on them for Kaiser's profit. They stole

    my ovary, but it was Nick Richards, Paul McCartney, Johnathan Shaw and Colin

    McGuiness and others who auctioned me off or tried to get things against my character so

    they could extort me and blacklist n~~e~ and justify my mutilation and ovary theft.

           58.      CDC admits to stealinb my eggs and implanting them on 1/29/20]5 and

    that that transfer caused the first live birth from a stolen egg, and that those eggs made a

    baby in a report published on the Internet. DeBeers is using drilling a.nd mining to steal

    ovaries and commit genocide through their enormous network.

           59.      The horse breeding documents where they hide that they use women for

    breeding, shows I was nominated for breeding a foal by a UC R;,~ents employee Travis

    Miller and referred to me as a "Sexy f3Jonde" that they intended to use for tmlawful organ

   theft and breeding. Mike Horowitz, who is an FBI agent is listed as a coach on my

   records.

           60~      The government knew about our injuries and tampered with our rights in

   courts by payoffs, traceable to Canada and New South Wales. Through DeBeers and

   Newscorp and Disney proxies.




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              61.    Not only did Andrew Frankel guarantee he would not remove tissue due to

    my Christian Faith, but he also knew they intended to take my ovaries and facial bones

    and intended to expose me to HIV, perform heart surgery (scent) and thoracic spine

    surgery after castrating me and raping me.

              62.    My face was shortened over an inch, which has left ►71e severely disabled.

    They i~~stalled a device in my neck which causes severe pain.

              63.    State officials have tampered with my rights to finances, Banking,

    Education after DeBeers, Hiltons, Murdoch, and their agents decided to b~rbarically mine

   in me without jurisdiction to do so.

              64.   The lawyers„ insurance and others tnembei-s of this case were paid off,

    took money from News Corp, Bachher Jagdeep paid my Landlord $30,000 for my body

    parts as he gets money every mont]Z to observe my torture hired through UCLA affiliate

    Semel..

           65.      It is believed that DeBeers uses their power to humanly harvest white

   Heterosexual Christians in violation of international law and ciid profit on making

   Diamonds from such tactics.

           66.      It is believed that Paul McCartney uses leis mi~listry to unlawfully target

   white Christian National women to rape, tort~►re and sell as slaves die to his "power and

   did use Brian Ray, his procurement agent for himself and DeL3eers.

           67,      I have proof of my statements and online can see who earned money from

   my injuries and who has patents for my stolen ovaries, and other tissLie.
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            68.     After DeBeers and Murdoch agents and other Defendants raped and

    tortured me, they deprived me of the right to sell my writing, get healthcare, get fair

    insurance and work.

            69.    The torture DeBeers and others on this list did to me included sexual

    exploitation, Satanism, gangstalking and other severe crimes against me.

            70.    DeBeers targeting of White Christians constitutes genocide.

           71'~    Paul McCartney's unlawful selling of~ slaves to rape and torture,

    constitutes crimes against humanity.

           72.     All ol~ these facts can be proven. We should llavc; been able to restore out

    rights in state court, but they wanted to hide their conduct and hide DeBeers and Paul

    McCartney's crimes and treason against Americans.

           73.     For all other facts, please see the associated lawsuit CV20-6448-DSF

   (JEMX)

           73.     The practice of targeting us by race and religion is truly reprehensible.

           74.     I have had two people as age~~ts of DeBeers, wt~o has racist policy and

    practice attempt to get me to say the "N" word with intention of f'r~rmi~~g me. These items

    will be proven in court.

           75.     My sister was given De Beers books by VC Andrev~s as a child. I do

   believe my parents sold me to lle Beers and may work for them. Thus please see their

   crimes in the associated lawsuit related to slavery, torture and reproductive rights.

           76.     My best friend at the time was Marianne Manock who wrote daily with

   Michael Horowitz of Flshback books UNDER the Simon and. Scl~iister Imprint. Michael

   wrote graphic porn according to Marianne that would be aiulotated and acted out in




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    "theater". Michael Horowitz---Winona Ryder's father is listed as a coach on my injuries

    and it is believed works with Simon and Schuster unlawfully writing to enact rape on

    women, stealing their eggs and ovaries and facial bones for De Beers.

           I declare under penalty of perjury according to the laws of the State of California

    that the foregoing in true and correct and does not contain evcrytlling as the. plot against

    me to withhold my rights was enormous. But most of those details are in the pleading

    itself. I was targeted for torture t-or my freedoms and this case comes out of retaliation of

    my freedom of speech.



           At Los Angeles, California, this 22 .duly, 2020




                                                          L'       uglass
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    Parties

    DE BEERS GROUP
    20 Carlton House Terrace, St..Iames's, London SW 1 Y SAN, United Kingdom

    And their agents:

    MICHAEL HOROWITZ
    FLSHBACK BOOKS
    For
    SIMON AND SCHUSTER SUBSIDIARY OF VIACOM
    WHICH IS NATIONAL AMUSEMENTS

    SIR PAUL MCCARTNEY
    MPL Communications Ltd. 1 Soho Square London W1D ~I~Q iJK.

    RUPF,RT MURDOCH
    News corp
    12800 Culver Blvd, Los Angeles, CA 90066

   SUMNER REDSTONE
   NATIONAL AMUSEMENTS
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   PARIS HILTON
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   3340 Clerendon Rd, Beverly Hills, CA 90210

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   UNIVERSAL MUSIC GROUP
   2100 Colorado Ave, Santa Monica, CA 90404




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